                        UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA
                             File No. 1:12-CV-1349


UNITED STATES OF AMERICA,            )
          Plaintiff,                 )
                                     ) RESPONSE IN OPPOSITION TO
                    v.               ) UNITED STATES’ MOTION TO
                                     ) SEAL
TERRY S. JOHNSON, in his official    )
capacity as Alamance County Sheriff, )
              Defendant.             )
_____________________________________________________________________

       Defendant, Terry S. Johnson, in his official capacity as Alamance County Sheriff,

responds in opposition to the Motion of the United States to Seal [Doc. # 63].

                  STATEMENT OF THE NATURE OF THE MATTER

       This is an action brought by the United States of America seeking declaratory and

injunctive relief under Section 14141 of the Violent Crime Control and Law Enforcement

Act of 1994, 42 U.S.C. § 14141, filed on December 20, 2012. (Comp. ¶ 1). The

Complaint alleges that the Defendant and his department unlawfully discriminate against

Latinos in Alamance County by targeting them for investigation, detention, and arrest.

(Comp. ¶ 3). Plaintiff alleges that the discriminatory policing activities of the Defendant

date to at least January 2007. (Comp. ¶ 23). Along with other allegations, the Plaintiff

alleges that the Defendant discriminates against Latinos by automatically referring them

to ICE Investigators at the Alamance County Jail. (Comp. ¶’s 47-51). The Defendant has

filed an Answer [Doc. # 6] to the Complaint.

       A Joint Rule 26(f) Report has been filed by the parties [Doc. # 8], and an Order




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Approving Joint Rule 26(f) Report has been entered [Doc. # 9]. Further, a Stipulation

and Order Regarding Discovery has been entered by the Court [Doc. # 16]. In addition, a

Joint Confidentiality and Protective Order has been entered by the Court [Doc. # 18].

General discovery closed on October 4, 2013. [Doc. # 32].

       Defendant filed a Motion to Compel Discovery [Doc. # 23]. Following briefing by

both parties, the Honorable Joe L. Webster, United States Magistrate Judge, entered an

Order which granted Defendant’s Motion to Compel. [Doc. # 34]. Plaintiff has filed what

appears to be objections to the Magistrate Judge’s Order, which the Plaintiff labels as

Motion of the United States for Reconsideration of the Magistrate’s Order to Disclose

Confidential Informants. [Doc. # 36]. Defendant filed a Response to the Plaintiff’s

Motion for Reconsideration. [Doc. # 38]. Plaintiff then filed a Reply to the Response

[Doc. # 50], and filed eight exhibits under seal. The Defendant filed a Response in

Opposition to the Plaintiff’s Motion to Seal two of the eight exhibits. [Doc. # 53]. The

Plaintiff filed a Reply to the Response in Opposition to the Plaintiff’s Motion to Seal two

of the eight exhibits [Doc. # 64], and filed two exhibits under seal along with the Reply.

       The Plaintiff filed a Motion to Seal the two exhibits. [Doc. # 63]. The Defendant

now files this Response in Opposition to the Plaintiff’s Motion to Seal.

                             STATEMENT OF THE FACTS

       The parties to this action have entered into a Joint Confidentiality and Protective

Order. [Doc. # 18]. The Order provides that documents produced in discovery be

permitted to be designated as confidential. The Order does not deal with items that were




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not produced in discovery.

       The Plaintiff has moved to file two exhibits under seal pursuant to the Joint

Confidentiality and Protective Order. [Doc. # 18]. The first Exhibit, as stated in

Plaintiff’s Motion, is a declaration from Dr. Laura Roselle. The second exhibit consists

of two newspaper articles. Neither of these Exhibits falls within the parameters of the

Protective Order.

                                  QUESTION PRESENTED

       SHOULD THE MOTION TO SEAL FILED BY THE PLAINTIFF BE DENIED
       AS TO EXHIBITS A AND B?

                                         ARGUMENT

       The Motion to Seal [Doc. #63] uses as its basis for sealing the two Exhibits, the

Joint Confidentiality and Protective Order previously entered by the Court. [Doc. # 18].

The Protective Order provides that certain information may be designated as confidential.

The Plaintiff purports to designate as confidential in the Motion to Seal the two Exhibits

which are the subject of the Motion to Seal. Only certain information is covered by the

Protective Order. The definition of Information in the Protective Order reads as follows:

          (c)       Information. When used in this Order, the term
                    “information” includes document, tangible things, electronic
                    data, pleadings, exhibits, interrogatory responses, testimony,
                    collections or groupings of information, and all other
                    materials and information disclosed or obtained through
                    formal or informal discovery. (Emphasis added).

Joint Confidentiality and Protective Order. [Doc. # 18, p. 2].

       Neither the declaration of Dr. Laura Roselle nor the two newspaper articles fall




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within the definition of information which may be designated as confidential as neither

were “disclosed or obtained through formal or informal discovery”. The declaration of

Dr. Roselle is not part of discovery materials. Instead, the declaration is simply material

filed in support of Plaintiff’s Motion. Further, in Plaintiff’s Motion to Seal, Dr. Roselle is

identified as the person making the declaration. It does not appear that the Motion to Seal

is attempting to prevent the disclosure of Dr. Roselle’s identity, but seeks instead to

prevent the disclosure of the matters stated in her declaration. Even had the declaration

been subject to the Protective Order, the Order does not prevent the disclosure of

testimony once the Personally Identifiable Information is stated in a Motion.

       The second Exhibit which is the subject of Plaintiff’s Motion to Seal consists of

two newspaper articles which apparently were published in the Burlington Times-News.

Additionally, based on an apparent url address at the bottom of each article, the two

articles appear to be available on the Internet. Like the declaration of Dr. Roselle, neither

of these articles appear to have been “disclosed or obtained through formal or informal

discovery”. Instead, the articles were simply copied from the Internet. Indeed, it strains

all credulity to believe that it is necessary to file materials under seal to prevent their

disclosure when these same materials are newspaper articles which have been circulated

by the Burlington Times-News, and are apparently on the Internet.

       As neither of the Exhibits fall within the purview of the Protective Order, the

Plaintiff must show a “significant countervailing interest” to overcome “the presumption


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in favor of public disclosure of court records”. Under Seal v. Under Seal, 326 F.3d 479,

486 (4th Cir. 2003). Plaintiff has failed to state in its Motion to Seal any countervailing

interest in being allowed to file the two Exhibits under seal. Therefore, the presumption

in favor of public disclosure of court records must prevail, and the Motion to Seal should

properly be denied.

                                      CONCLUSION

       For the foregoing reasons, the Motion to Seal filed by the Plaintiff should properly

be denied as to Exhibits A and B.

       This the 28th day of October, 2013.

                                                   Turrentine Law Firm, PLLC


                                                   by: /s/ S. C. Kitchen
                                                   S. C. Kitchen
                                                   NC Bar No. 9309
                                                   920-B Paverstone Dr.
                                                   Raleigh, NC 27615
                                                   Telephone: (888) 308-3708
                                                   Fax:           (888) 308-3614
                                                   Email: ckitchen@turrentinelaw.com




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                              CERTIFICATE OF SERVICE

       I, S. C. Kitchen, hereby certify that on October 28, 2013, I filed this document with

the U.S. District Court’s electronic Filing (ECF) system, which will serve a copy by email

to counsel, and further that for counsel who are not listed in the ECF system, I served a

copy of the foregoing document on the counsel in this action by placing the same in the

United States Mail, postage affixed:


       Michael Songer
       U. S. Department of Justice
       950 Pennsylvania Ave., N.W.
       Washington, DC 20530
       Email: Michael.Songer@usdoj.gov

       C. Amanda Martin
       1101 Haynes Street, Suite 100
       Raleigh, North Carolina 27604-1455
       Email: amartin@smvt.com

       This the 28th day of October, 2013.


                                                   Turrentine Law Firm, PLLC


                                                   by: /s/ S. C. Kitchen
                                                   S. C. Kitchen
                                                   NC Bar No. 9309
                                                   920-B Paverstone Dr.
                                                   Raleigh, NC 27615
                                                   Telephone: (888) 308-3708
                                                   Fax:           (888) 308-3614
                                                   Email: ckitchen@turrentinelaw.com



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